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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF INDIANA
                                INDIANAPOLIS DIVISION

  UNITED STATES OF AMERICA,                        )
                                                   )
                              Plaintiff,           )
                                                   )
                      v.                           ) Case No. 1:12-cr-00102-TWP-DML-43
                                                   )
  DAX G. SHEPHARD,                                 )
                                                   )
                              Defendant.           )

                   ENTRY ON REVOCATION OF PRETRIAL RELEASE

        This matter is before the Court on the United States Probation Office’s Petition for

 Action on Conditions of Pretrial Release (Dkt. 1709). On June 13, 2013, the Court heard

 evidence on allegations that Defendant, Dax Shephard (“Mr. Shephard”) had violated conditions

 of his Pretrial Release. The Government appeared by Bradley Blackington, Assistant United

 States Attorney. Mr. Shephard appeared in person and by counsel, Abigail Lynn Seif. Brittany

 Neat appeared on behalf of the United States Probation Office. The Court took the matter under

 advisement and now makes its ruling. Because the Court finds probable cause exists to believe

 that Mr. Shephard has committed a state or local crime while on release, the pretrial release is

 REVOKED.

                                I. FINDINGS AND RULING

        Mr. Shephard is charged in this multi-defendant case with Racketeer Influenced Corrupt

 Organizations (“RICO”). On October 29, 2012, he appeared before a Magistrate Judge for a

 detention hearing and was released to pretrial supervision. As a courtesy to this district, Mr.

 Shephard was allowed to reside in northern Indiana and was being supervised by a probation

 officer in the Northern District of Indiana. A condition of Mr. Shephard’s release is that
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 “defendant must not violate federal, state or local law.” On June 6, 2013 the probation officer

 filed a Petition for Action alleging that Mr. Shephard was in non-compliance for several reasons.

 One of the allegations is that on May 30, 2013, a felony charge of Theft was filed in Whitley

 County Indiana under cause number 92D01-1305-FD-000344 and a warrant was issued and

 remains active.

        In support of this allegation, the Court heard testimony and received evidence that during

 the course of his employment as a filter repairman, with or without the permission of his

 employer, Mr. Shephard was able to gain access behind the pharmacy counter at a Kroger’s store

 in Columbia City, Indiana. Mr. Shephard was observed entering the aisle where Hydrocodone

 was located and then left the store a short time after his arrival. Later, an inventory check in the

 pharmacy revealed that 400 Hydrocodone pills were missing. Video footage exists of Mr.

 Shephard entering the Kroger pharmacy. Mr. Shephard had also been at the Plymouth, Indiana

 Kroger pharmacy and a Mishawaka, Indiana Kroger pharmacy and Hydrocodone was also found

 to be missing from these pharmacies. A sworn affidavit for probable cause was made by a

 Columbia City police officer. Probable cause was found to issue a warrant for Mr. Shephard’s

 arrest, and on May 31, 2013 a charge of felony theft was filed in the Whitley Superior Court.

        The Federal Bail and Reform Act provides that a person released pending trial is subject

 to revocation of release, an order of detention, and prosecution for contempt of court for

 violation of a condition of release. (See 18 U.S.C. § 3148(a)). The revocation hearing is not a

 formal trial and the Federal Rules of Evidence need not apply. Fed. R. Evid. 1101(d)(3).5(c).

 Proof beyond a reasonable doubt is not required and the Court need only find probable cause to

 believe that the person has committed a crime while on release. 18 U.S.C. § 3583(b)(1)(B). If

 there is probable cause to believe that, while on release, the person committed a felony, a



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 rebuttable presumption arises that no condition or combination of conditions will assure that the

 person will not pose a danger to the safety of any other person or the community. (18 U.S.C. §

 3148(b) (2)). In U.S. v Quirion, 808 F. Supp.2d 343 (2011) the court found there was probable

 cause to believe that while he was on release defendant committed the state crime of theft by

 unauthorized taking, in violation of the condition of release that he not violate any federal, state

 or local law while on release; as the government had produced a reliable police report, as well as

 a state criminal complaint sworn to and filed in state court attesting to the theft charge.

        While admittedly the actual evidence against Mr. Shephard is circumstantial, the

 probable cause affidavit, pending state court charges and arrest warrant, provide sufficient

 evidence to support a finding of probable cause that Mr. Shephard has committed a crime while

 on pretrial release. Further, the Court finds Mr. Shephard has not rebutted the presumption that

 he will not pose a danger to the safety of the community or abide by other conditions. Therefore,

 the Court finds Mr. Shephard in violation of the conditions of his pretrial supervision and his

 pretrial release is REVOKED. Mr. Shephard is remanded to the custody of the United States

 Marshal and DETAINED until this matter is disposed.


        SO ORDERED.

        06/17/2013
 Date: ________________
                                                   ________________________
                                                   Hon. Tanya Walton Pratt, Judge
                                                   United States District Court
                                                   Southern District of Indiana




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 United States Probation Office

 United States Marshal Service




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